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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION


 UNITED STATES OF AMERICA,

 vs.                                                Case Number: 17-10003-STA

 BERNARD COOPER.


       ORDER GRANTING MOTION TO CONTINUE SENTENCING AND NOTICE OF
                               RESETTING


         THIS MATTER came on to be heard upon the Defendant’s Motion to Continue

 Sentencing and it would appear unto this Court that for good cause said Motion should be

 GRANTED. That this matter is reset to Monday, July 30, 2018 at 10:30 A.M.



         IT IS SO ORDERED



                                                    s/S. Thomas Anderson
                                                    CHIEF JUDGE U.S. DISTRICT COURT

                                                    6/19/3018
                                                    DATE
